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      ORDERED in the Southern District of Florida on August 8, 2018.




                                                      Laurel M. Isicoff
                                                      Chief United States Bankruptcy Judge




_____________________________________________________________________________

                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

      In re:
                                                                            CASE NO. 14-14698-LMI
      IRIS MILAGROS ORTIZ
      JOSE RUBEN ORTIZ
                        Debtor(s).
      ______________________________/

          ORDER GRANTING TRUSTEE'S MOTION TO DEEM MORTGAGE PAID IN FULL

               THIS CASE came on to be heard on August 7, 2018 on the Motion to Deem Mortgage

      Paid In Full and based on the record, it is ORDERED as follows:

               1. The Motion to Deem Mortgage Paid In Full (#140) is granted.

               2. The Trustee has paid the escrow payments under the plan and the secured portion of

      the mortgage lien of the property located at 1655 West 44th Place, Apt 237 (claim #5) in full.

               3. The Trustee has paid the secured portion of the mortgage lien of the property located at

      13404 SW 153 Terr, Miami, FL (claim #4) the amounts due under the plan prior to the

      creditor receiving relief from stay and the creditor's removal from the plan.
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         4. The Trustee has paid the allowed timely filed unsecured claims in full.

         5. The Trustee may refund any excess funds to the Debtor.

                                                       ***
                                                      Submitted by
                                                            NANCY K. NEIDICH, ESQUIRE
                                                            STANDING CHAPTER 13 TRUSTEE
                                                            P.O. BOX 279806
                                                            MIRAMAR, FL 33027
                                                            (954) 443-4402

Nancy K Neidich, Esq, Chapter 13 Trustee, is directed to serve a conformed copy of this Order to all interested
parties immediately upon receipt and filed a certificate of service with the Clerk of the Court
